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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 TONI GALLOW                                          CASE NO. 2:17-cv-01007

                Plaintiff,
                                                      JUDGE MICHAEL H. WATSON
        v.
                                                      MAGISTRATE JUDGE JOLSON
 ADAM PITTIS, et al.

                Defendants.


  DEFENDANTS ADAM PITTIS AND EAST GUERNSEY LOCAL SCHOOL DISTRICT
    BOARD OF EDUCATION’S MOTION FOR PARTIAL SUMMARY JUDGMENT


       Now come Defendants who, pursuant to Fed. R. Civ. Proc. 56(B), hereby move the Court

for an Order granting them summary judgment on Complaint Count One (the only federal claim),

which alleges a procedural due process violation based upon the denial of an alleged liberty

interest; namely, a “name clearing hearing.” Based upon the inconvertible facts and applicable

case law, Superintendent Pittis is entitled to qualified immunity. Correlatively, the Board of

Education is entitled to judgment as a matter of law. A Memorandum in Support is attached hereto.

                                                    Respectfully submitted,

                                                    O’TOOLE, McLAUGHLIN, DOOLEY
                                                    & PECORA CO., LPA

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                                                    and East Guernsey Board of Education



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                                MEMORANDUM IN SUPPORT

I.     INTRODUCTION

       Plaintiff has alleged only one federal claim, which is set forth in Second Amended

Complaint [Doc. 26] Count One, and purports to be a procedural due process claim based upon

the Superintendent’s failure to provide a “name clearing hearing” to Plaintiff. In contrast, there

are now seven (7) state law claims: Count Two (breach of express/implied contract), Count III

(unjust enrichment), Count IV (age discrimination/hostile environment), Count V (sex

discrimination/hostile environment), Count VI (retaliation), Count VII (defamation), and Count

VIII (false light/invasion of privacy).

       Based upon Sixth Circuit case law, the outcome-determinative pure legal issue1 is narrow

and straightforward: Is Plaintiff still employed by Defendant East Guernsey School District Board

of Education as a teacher? Since the incontrovertible answer is “yes,” Plaintiff’s sole federal claim

fails as a matter of law and Defendant Pittis is entitled to partial summary judgment as a matter of

law based upon qualified immunity.

II.    STATEMENT OF ALLEGATIONS/FACTS

       Teachers who have “continuing contract” status in the State of Ohio are generally have a

property interest in their employment pursuant to R.C. § 3319.08(D). Limited contracts are for

five-year terms and, for teachers, governed by R.C. § 3319.08(C)(3).

       Plaintiff is and has been employed by the Board of Education since 2003. Doc. 26,

PageID# 228, Second Am. Compl. ¶15. Plaintiff has been employed as a math and science teacher




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       Resolution of qualified immunity is a pure question of law for the Court. Virgili v. Gilbert,
272 F.3d 391, 392 (6th Cir. 2001); Turner v. Scott, 119 F.3d 425, 428 (6th Cir.1997)

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at the high school. Id. at ¶17. Presently, Plaintiff is a middle school science and history teacher.

Id., PageID# 242, at ¶72.

       Beyond her regular teaching assignment, Plaintiff also performed additional work under a

number of “supplemental contracts.” Unlike continuing contracts under R.C. § 3319.08(D) and

limited contracts under R.C. § 3319.08(C)(3), teachers in Ohio have no property rights in

supplemental contracts. Indeed, R.C. § 3319.11(I) provides an express exclusion for the rights

afforded by R.C. § 3319.08 and states that “The provisions of this section shall not apply to any

supplemental written contracts entered into pursuant to section 3319.08 of the Revised Code.” In

other words, “[e]ffective July 1, 1989, supplemental written contracts were excluded from the

automatic renewal provisions of R.C. 3319.11. R.C. 3319.11(I), 142 Ohio Laws, Part II, 3363.”

Hara v. Montgomery Cty. Joint Vocational Sch. Dist., 75 Ohio St.3d 60, 63, fn. 1, 1996-Ohio-131,

661 N.E.2d 711, 713.

       Plaintiff’s supplemental contracts [which were attached to the First Amended Complaint

and are identified as Docs 26-3, 26-4, 26-5, and 26-6], all state that they are for a one year period

during a particular school year, i.e. 2016-2017. All of the supplemental contracts state: “This

supplemental contract shall expire automatically at the end of its term, and any right to

evaluation, statement of circumstances, continuing contract or notice of nonrenewal is hereby

waived and relinquished, pursuant to R.C. 3319.11(I).” (Emphasis added).

       Boiled down to its’ essence, Plaintiff’s complaint is that the Superintendent investigated

her for, inter alia, falsification of time records—a possible theft in office crime in the State of Ohio

pursuant to R.C. § 2921.41. As part of that investigation, the Superintendent met with Plaintiff

and her Union representatives to discuss the allegations. During the course of three meetings,

information and documentation were disclosed to Plaintiff and her Union representatives regarding



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the allegations. Apparently, Plaintiff’s Union representatives have been gossiping about what

transpired during the course of those three meetings and Plaintiff claims her professional reputation

has been damaged as a result.

       Although the Superintendent found (at that time), some evidence that Plaintiff had

committed falsification of time records in one instance where she appeared to be “double dipping”

in terms of her bus driving and tutoring duties, the Superintendent decided not to pursue

disciplinary action against Plaintiff. However, beyond that apparent discrepancy, the investigation

did reveal concerns about the quality of Plaintiff’s work under certain “supplemental contracts.”

As such, the Superintendent proceeded to limit the number of “supplemental contracts” he would

recommend Plaintiff to the Board of Education for the following school year. For the 2017-2018

school year, Plaintiff did not receive some of the supplemental contracts she had in the past.

       Subsequently, Plaintiff’s counsel wrote to Superintendent Pittis demanding a “name

clearing hearing.” The Superintendent responded denying that request citing R.C. § 3319.11(I).

See Docs. 26-1 and 26-2, PageID#s 259-260.

       Although Plaintiff remains employed as a full-time teacher for the Board of Education, she

claims that the nonrenewal of the supplemental contracts, coupled with the alleged publication of

possible criminal activity, has created as stigma such that Plaintiff has become unemployable in

the local community due to the damage to her professional reputation.

       Even construing the facts most favorably to Plaintiff, and assuming arguendo the

Superintendent published, without privilege to do so, information about his investigation

(including the potentially criminal nature of Plaintiff’s alleged conduct), to third parties who were

not entitled to receive the information, the Superintendent remains entitled to summary judgment

on Complaint Count One because there has been no constitutional violation, nor any violation of



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a clearly established constitutional right. Absent a constitutional violation, the Board of Education

is entitled to summary judgment as well.

III.   LAW AND ARGUMENT

       A.      Qualified immunity generally

       For acts taken in the course of official duties, a public official presumptively receives

immunity for such acts. Mays v. City of Dayton, 134 F.3d. 809, 813 (6th Cir. 1998). Plaintiff bears

the ultimate burden of demonstrating that a defendant is not entitled to qualified immunity. Baker

v. City of Hamilton, 471 F.3d 601, 605 (6th Cir. 2006). To prevail on claims brought pursuant to

§ 1983, a plaintiff bears the burden of establishing that a person acting under the color of law

deprived the plaintiff of a right secured by the United States Constitution or the laws of the United

States. Smoak v. Hall, 460 F.3d 768, 777 (6th Cir. 2006).

       Qualified immunity “gives government officials breathing room to make reasonable but

mistaken judgments,” and “protects ‘all but the plainly incompetent or those who knowingly violate

the law.’” Messerschmidt v. Millender, 565 U.S. 535, 546, 132 S.Ct. 1235, 1244–45, 182 L. Ed.2d

47 (2012); Dorsey v. Barber, 517 F.3d 389, 400 (6th Cir. 2008). “The protection of qualified

immunity applies regardless of whether the government official's error is a mistake of law, a mistake

of fact, or a mistake based on mixed questions of law and fact.” Pearson v. Callahan, 555 U.S. 223,

129 S.Ct. 800, 818 (2009).

       It is well-established that any injury caused merely by negligence does not constitute a

“deprivation” of any constitutionally protected interest. Collins v. City of Shaker Heights, 503 U.S.

115 (1992); DeShaney v. Winnebago County Dep't of Social Services, 489 U.S. 189, 201-202

(1989). Indeed, to violate the Constitution, the complained of action must be committed knowingly




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or intentionally, as mere negligence or recklessness is insufficient. Ahlers v. Schebil, 188 F.3d 365,

372 (6th Cir. 1999).2

       Moreover, the threshold inquiry in a qualified immunity case is whether a constitutional

violation has occurred at all. Siegert v. Gilley, 500 U.S. 226, 232 (1991); Turner v. Scott, 119 F.3d

425, 429 (6th Cir. 1997). It is the plaintiff’s burden to convince the court that the law was clearly

established at the time of the offensive conduct. In doing so, a plaintiff cannot simply identify

a clearly established right in the abstract and allege that the defendant has violated it.

Instead, the plaintiff must show a substantial correspondence between the conduct in question and

prior law allegedly establishing the defendant’s actions were clearly prohibited. [Internal citations

omitted]. Hughes v. City of North Olmsted, 93 F.3d 238, 241 (6th Cir. 1996)(emphasis added).

       In determining whether an official is entitled to qualified immunity, the question is

“Whether a reasonable [official] could have believed [their conduct] to be lawful in light of clearly

established law and the information [the official] possessed.           [The official’s] subjective

beliefs...are irrelevant. Anderson v. Creighton, 483 U.S. 635, 641 (1987). “In Harlow v.

Fitzgerald … the Supreme Court rejected the inquiry into the state of mind of the person seeking

immunity in favor of a wholly objective standard for determining whether or not qualified

immunity exists.    Under this test, an official would be immune ‘if officers of reasonable




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         “[I]t is now firmly settled that injury caused by negligence does not constitute a
'deprivation' of any constitutionally protected interest." Upsher v. Grosse Pointe Pub. Sch. Sys.,
285 F.3d 448 (6th Cir. 2002). "Gross negligence is not actionable under § 1983, because it is not
'arbitrary in the constitutional sense.'" Cheriee Gazette v. City of Pontiac, 41 F.3d 1061, 1066 (6th
Cir. 1994), citing Lewellen v. Metropolitan Gov't of Nashville, 34 F.3d 345, 351 (6th Cir. 1994)
(citing Collins, 112 S. Ct. at 1071).



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competence could disagree’ on whether the conduct violated the plaintiff’s rights.” Gossman v.

Allen, 950 F.2d 338, 341 (6th Cir. 1991).

       In Cope v. Heltsley, 128 F.3d 452 (6th Cir. 1997), the Sixth Circuit, addressing the two-step

qualified immunity analysis, stated: The logical first step in deciding whether there is a colorable

claim that a defendant has violated a “clearly established” constitutional right is to decide “whether

the plaintiff has asserted a violation of a constitutional right at all.” Id. at 458. The second step

of the qualified immunity analysis, that is, objective legal reasonableness, requires the courts to

examine the asserted right at a “relatively high level of specificity.” Id. The right must have been

“clearly established” not just in abstract sense, but in a “particularized” sense. Id. at 458-59.

Claims of immunity are thus to be analyzed “on a fact-specific, case-by-case basis to determine

whether a reasonable official in the defendant[‘s] position could have believed that his conduct

was lawful….” Pray v. City of Sandusky, 49 F.3d 1154, 1158 (6th Cir. 1995). And the burden of

convincing the court that the law was clearly established under this particularized “could have

believed” test is a burden that rests squarely on the plaintiff. Hughes, supra, 93 F.3d at 241.

       B.      There is no clearly established constitutional right to a “name clearing
               hearing” where an employee has not been terminated.

               1.      The stigmatizing statements must be made in conjunction with the
                       Plaintiff’s termination from employment.

       The four key decisions are all reported and adverse to Plaintiff’s position: Crosby v. Univ.

of Kentucky, 863 F.3d 545 (6th Cir. 2017), cert. denied sub nom. Crosby v. Capilouto, 138 S. Ct.

741, 199 L. Ed. 2d 607 (2018); Ludwig v. Bd. of Trustees of Ferris State Univ., 123 F.3d 404, 410

(6th Cir. 1997); Garvie v. Jackson, 845 F.2d 647, 652 (6th Cir. 1988); and Gies v. Flack, 495 F.




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Supp.2d 854, 867 (S.D.Ohio 2007). Indeed, the Sixth Circuit has long required that an employee

be terminated from employment a “name clearing hearing” is necessary.

       In Garvie v. Jackson, 845 F.2d 647 (6th Cir. 1988), the Sixth Circuit held that a plaintiff

who was removed from his position as Department Head, yet remained a tenured professor at full

salary, did not have a clearly established liberty interest in his administrative position. Plaintiff

Garvie could not overcome the defense of qualified immunity because “[i]t is not clear ... that

defamation unaccompanied by termination of employment or another change in [the plaintiff’s]

legal status constitutes a deprivation of liberty under the fourteenth amendment.” Thus, Plaintiff

being removed as Math Department Head doesn’t provide her with a basis for a name clearing

hearing claim.” Id. at 652.

       In Ludwig v. Bd. of Trustees of Ferris State Univ., 123 F.3d 404, 410 (6th Cir. 1997), the

Sixth Circuit opined:

               An injury to a person's reputation, good name, honor, or integrity constitutes
               the deprivation of a liberty interest when the injury occurs in connection
               with an employee's termination. See Board of Regents v. Roth, 408 U.S.
               564, 573, 92 S.Ct. 2701, 2707, 33 L.Ed.2d 548 (1972); Chilingirian v.
               Boris, 882 F.2d 200, 205 (6th Cir.1989). When a deprivation of a liberty
               interest of this kind occurs, the employee must be afforded notice and an
               opportunity to be heard to refute the charges disseminated against
               him. See Chilingirian, 882 F.2d at 205 (citing Roth, 408 U.S. at 573, 92
               S.Ct. at 2707). “Thus, when a ‘nontenured employee shows he has been
               stigmatized by the voluntary, public dissemination of false information in
               the course of a decision to terminate his employment, the employer is
               required to afford him an opportunity to clear his name.’” Id. A liberty
               interest in one's reputation is implicated, therefore, only when five elements
               are satisfied. First, the stigmatizing statements must be made in
               conjunction with the plaintiff's termination from employment. See Paul
               v. Davis, 424 U.S. 693, 709–10, 96 S.Ct. 1155, 1164–65, 47 L.Ed.2d 405
               (1976)(injury to reputation by itself is not a liberty interest protected under
               the Fourteenth Amendment). Second, a plaintiff is not deprived of his
               liberty interest when the employer has alleged merely improper or
               inadequate performance, incompetence, neglect of duty or
               malfeasance. See Siegert v. Gilley, 500 U.S. 226, 111 S.Ct. 1789, 114
               L.Ed.2d 277 (1991); Chilingirian v. Boris, 882 F.2d 200, 205–06 (6th


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               Cir.1989); Lake Michigan College Fed'n of Teachers v. Lake Michigan
               Community College, 518 F.2d 1091, 1096–97 (6th Cir.1975). “A charge
               that merely makes a plaintiff less attractive to other employers but leaves
               open a definite range of opportunity does not constitute a liberty
               deprivation.” Chilingirian, 882 F.2d at 205–06 n. 8. Rather, to implicate the
               Due Process Clause, the employer must have made a statement in the
               course of the employee's discharge “that might seriously damage his
               standing and associations in his community” or that might impose “on him
               a stigma or other disability that [would] foreclose[ ] his freedom to take
               advantage of other employment opportunities.” Roth, 408 U.S. at 573, 92
               S.Ct. at 2707. A moral stigma such as immorality or dishonesty is required
               to show a deprivation of liberty. Id.

Ludwig v. Bd. of Trustees of Ferris State Univ., 123 F.3d 404, 410 (6th Cir. 1997)

       More recently, in Crosby v. Univ. of Kentucky, supra, the Sixth Circuit reiterated that

alleged defamation alone is not enough to trigger this constitutional protection; rather, the alleged

damage must be tied to “[s]ome alteration of a right or status ‘previously recognized by state law.’”

Id. at 555, citing Quinn v. Shirey, 293 F.3d 315, 319 (6th Cir. 2002)(quoting Paul v. Davis, 424

U.S. 693, 711–12, 96 S.Ct. 1155, 47 L.Ed.2d 405). Thus, the Sixth Circuit “has identified five

factors that a plaintiff must show in order to establish that he was deprived of a liberty interest and

entitled to a name-clearing hearing.” Crosby at 555, citing Quinn at 320. They are as follows:

               First, the stigmatizing statements must be made in conjunction with the
               plaintiff’s termination from employment.... Second, a plaintiff is not
               deprived of his liberty interest when the employer has alleged merely
               improper or inadequate performance, incompetence, neglect of duty or
               malfeasance.... Third, the stigmatizing statements or charges must be made
               public. Fourth, the plaintiff must claim that the charges made against him
               were false. Lastly, the public dissemination must have been voluntary.

Id. (quoting Brown v. City of Niota, 214 F.3d 718, 722–23 (6th Cir. 2000)).

       An employee must “demonstrate stigmatizing governmental action which so negatively

affects his ... reputation that it effectively forecloses the opportunity to practice a chosen

profession.” Crosby at 557, citing Joelson v. United States, 86 F.3d 1413, 1420 (6th Cir. 1996).

“And we have previously held that a plaintiff’s liberty interest was not implicated when the


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plaintiff, who worked as a teacher, remained employed by the defendant school district in the wake

of allegedly stigmatizing statements.” Crosby, id., citing Baar v. Jefferson Cty. Bd. of Educ., 311

Fed.Appx. 817, 826 (6th Cir. 2009)(plaintiff-employee failed to state a claim when he “continue[d]

to work as a teacher in the [defendant] County schools” after the allegedly stigmatizing statements

were publicized).

       In Crosby, the plaintiff (like the Plaintiff herein), could not legitimately dispute that he

remained employed as a teacher. Crosby attempted to argue that his position as Department Chair

was a distinct employment arrangement. The Sixth Circuit found that argument meritless, stating

“But Crosby cites no case, and we can find none, holding that removal from a nontenured

administrative position constitutes a `termination from employment’ as required by the first Quinn

factor. The closest precedent in this circuit, in fact, noted that this area of law was not so clearly

established as to overcome the defense of qualified immunity.” Plaintiff herein attempts to make

a similar claim concerning supplemental contracts which automatically expire based upon a

specific term, i.e. the end of each school year.

       Given the Sixth Circuit’s decision in Crosby, which was just decided on July 17, 2017, it

cannot be stated that the law is clearly established that Plaintiff was entitled to a name clearing

hearing. In fact, absent termination, Plaintiff was not entitled to such a hearing and Superintendent

Pittis would be entitled to qualified immunity.

       And, even prior to Crosby, the Southern District of Ohio had reached the same conclusion.

In Gies v. Flack, 495 F. Supp. 2d 854 (S.D.Ohio 2007), the district court noted that since Garvie

had been decided, “the Sixth Circuit has interpreted an employee's liberty interest even more

strictly by concluding that nothing short of termination constitutes a constitutional violation….”

(Emphasis added). Id. at 867. The court observed that the Sixth Circuit had held “that where a



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state employee was not terminated incident to the unfavorable statement, there was no violation of

the liberty interest protected by the Due Process Clauses.” Lisle v. Metro. Gov't of Nashville and

Davidson County, Tenn., 2003 WL 21580642 at *6 (6th Cir. July 9, 2003). See also Siegert v.

Gilley, 500 U.S. 226, 233–34, 111 S.Ct. 1789, 114 L.Ed.2d 277 (1991) (“The facts alleged by

[plaintiff] cannot ... be held to state a claim for denial of a constitutional right [because] [t]he

alleged defamation was not uttered incident to the termination of [plaintiff's] employment.”);

Ludwig v. Bd. of Trs., 123 F.3d 404, 409 (6th Cir.1997), citing Paul, 424 U.S. at 709–10, 96 S.Ct.

at 1164–65 (“A liberty interest in one's reputation is implicated ... only when ... the stigmatizing

statements [are] made in conjunction with the plaintiff's termination from employment.”).

       In Gies, the plaintiff-employee attempted to argue that his banishment to the basement of

the WSU Kettering Center and the prohibition of professional contact with the College faculty or

staff amounted to substantial, tangible harm. However, because Gies was not terminated from his

employment, he had no claim to a deprivation of his liberty interest. Accordingly, the district court

concluded that “summary judgment is proper with respect to his claim requesting an order that

Defendants provide him with a name-clearing hearing.”

       A liberty interest is not implicated in this case where it is incontrovertible that Plaintiff

remains employed by the Board of Education as a teacher. Accordingly, Plaintiff has not been

deprived of any constitutional right to a “name clearing hearing.” Defendant Superintendent Pittis

did not violate a clearly established constitutional right and, therefore, he is entitled to qualified

immunity and partial summary judgment on First Amended Complaint Count One.




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IV.    THE COURT SHOULD DECLINE TO EXERCISE SUPPLEMENTAL
       JURISDICTION ONCE THE LONE FEDERAL CLAIM HAS BEEN DISMISSED
       AND/OR BECAUSE THE STATE LAW CLAIMS WHICH PREDOMINATE

       Pursuant to 28 U.S.C. § 1367(c), a district court may decline to exercise supplemental

jurisdiction over a claim where:

       2)      the claim substantially predominates over the claim or claims over which
               the district court has original jurisdiction; or

       3)      the district court has dismissed all claims over which it has original
               jurisdiction[.]

       A.      28 U.S.C. § 1367(c)(3)

       Once the Court grants Defendants’ Motion for Partial Summary Judgment on Plaintiff’s

sole, utterly meritless, federal claim, the proper course of action would be for the Court to dismiss

the remaining state law claims without prejudice. “Because no federal claims remained, the court

declined to exercise supplemental jurisdiction under 28 U.S.C. § 1367(c)(3)(allowing a court to

decline jurisdiction over state-law claims if it “has dismissed all claims over which it has original

jurisdiction”).” Kalitta Air, LLC v. GSBD & Assocs., 591 F. App'x 338, 343 (6th Cir. 2014). “This

Court has dismissed the only federal claim alleged. The Court therefore declines to exercise

supplemental jurisdiction over the balance of Plaintiffs' claims, and they are dismissed without

prejudice.” Bender v. Logan, No. 1:12-CV-956, 2014 WL 2515402, at *13 (S.D.Ohio June 3,

2014), aff'd, 608 F. App'x 356 (6th Cir. 2015).

       B.      28 U.S.C. § 1367(c)(2)

       Alternatively, “supplemental jurisdiction ‘is a doctrine of discretion, not of plaintiff's

right,’ and Congress has specifically allowed for district courts to decline to exercise supplemental

jurisdiction over a state law claim if “the claim substantially predominates over the claim or claims

over which the district court has original jurisdiction....’ 28 U.S.C. § 1367(c)(2). Although no



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definitive test has been enunciated for whether state law claims predominate over federal law

claims, ‘courts have considered such factors as whether they outnumber the federal law claims;

whether the claims are distinct; and whether [the] state law claims involve proof that is not needed

to establish the federal law claims.’” Trego v. Germain Ford of Columbus, No. 2:07-CV-1308,

2009 WL 2913962, at *5 (S.D.Ohio Sept. 8, 2009)(internal citation omitted), citing Williamson v.

Recovery Ltd. P'ship, No. C2–06–292, 2009 WL 649841, at *9 (S.D.Ohio March 11, 2009), citing

United Mine Workers of America v. Gibbs, 383 U.S. 715, 727 (1966). “[I]f it appears that the state

issues substantially predominate, whether in terms of proof, of the scope of the issues raised, or of

the comprehensiveness of the remedy sought, the state claims may be dismissed without prejudice

and left for resolution to state tribunals.” Trego v. Germain Ford of Columbus, No. 2:07-CV-

1308, 2009 WL 2913962, at *6 (S.D.Ohio Sept. 8, 2009), citing Gibbs, 383 U.S. at 726–27.

       Presently, in the case sub judice, there are five (5) state law claims [Count Two (breach of

express/implied contract), Count III (unjust enrichment), Count IV (age discrimination), Count V

(defamation), and Count VI (false light/invasion of privacy)], and just one (1) federal claim. The

state law claims, especially the defamation and false light/invasion of privacy claims, predominate.

Where there is a ratio of five (5) state law claims to one (1) federal claim, the Courts have found

that the sheer volume of state law claims and the ratio of such to the remaining federal claims

weighs quite heavily in favor of dismissal. See, e.g., Rugumbwa v. Betten Motor Sales, 200 F.R.D.

358, 368 (W.D.Mich. 2001)(“the court declines to exercise its supplemental jurisdiction because

plaintiff’s six state law claims ... substantially predominate over their single federal claim”);

Dietrich v. Simon, 2017 WL 5201919 at *2 (6th Cir. May 17, 2017)(where the plaintiff’s complaint

“alleged only a single federal claim and five state law claims, the state law claims predominated,




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and the district court did not abuse its discretion in declining to exercise supplemental

jurisdiction”).

        In the voluntary initial disclosures, Plaintiff identified 32 different witnesses—virtually all

of whom have some bearing on Plaintiff’s state law tort claims. The claims are distinct from

Plaintiff’s sole federal claim and the proof to establish them is not necessary for the federal claim.

        In contrast, regarding the federal claim, no witnesses are necessary to determine that claim.

Indeed, Plaintiff’s continued employment by the Board of Education has been plead in the

Complaint and First Amended Complaint. In other words, there is no genuine issue of material

fact that Plaintiff has not been terminated and remains employed by the Board of Education.

V.      CONCLUSION

        There are no genuine issues of material fact regarding Amended Complaint Count One.

Plaintiff, who is still employed by Defendant East Guernsey School District Board of Education,

cannot satisfy a necessary element of a procedural due process claim based upon denial of a “name

clearing hearing”; namely, that she was terminated. Thus, the Board of Education is entitled to

judgment as a matter of law.

        There is no clearly established constitutional right to a “name clearing hearing” for

employment actions short of termination. As such, Superintendent Pittis is entitled to qualified

immunity.

        Based upon the foregoing, Amended Complaint Count One should, and must, be dismissed

with prejudice as a matter of law and Defendants’ Motion for Partial Summary Judgment regarding

same granted. Furthermore, given that the state law claims predominate, the Court should decline




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to exercise supplemental jurisdiction and dismiss the remaining state law claims without prejudice

to re-filing in state court.

                                                       Respectfully submitted,
                                                       O’TOOLE, McLAUGHLIN, DOOLEY
                                                       & PECORA CO., LPA

                                               By:     /s/ John D. Latchney______________
                                                       John D. Latchney (0046539)
                                                       Attorney for Defendants Adam Pittis
                                                       and East Guernsey Board of Education


                                  CERTIFICATE OF SERVICE

         Counsel for Plaintiff has been notified of this filing via the U.S. District Court’s ECF System
at the e-mail address listed on the system on this 1st day of February 2019.

                                                       /s/ John D. Latchney______________
                                                       John D. Latchney (0046539)




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